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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA

                             CASE NUMBER: 1:21-cv-22250-MGC



  LISA HENSLEY,

        Plaintiff,

  v.

  NORWEGIAN CRUISE LINES

        Defendant.
                                          /

                                   NOTICE OF APPEARANCE

        NOTICE IS HEREBY GIVEN that Jerry D. Hamilton, Esq., and Elisha Sullivan,

  Esq. and the law firm of HAMILTON, MILLER AND BIRTHISEL, LLP, hereby appear

  as counsel for the Defendant, NORWEGIAN CRUISE LINES, in the cause herein. The

  undersigned designates the below e-mail addresses for service and respectfully requests

  all pleadings, notices, letters, correspondence and documents in the above-caption cases

  be served on:


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                     [SIGNATURE BLOCK ON THE FOLLOWING PAGE]




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                                                            CASE NUMBER: 1:21-cv-22250-MGC


  Dated: March 18, 2022                      Respectfully submitted,

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                                                   Counsel for Defendant


                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on March 18, 2022 I electronically filed the
  foregoing document with the Clerk of the Court using CM/ECF. I also certify that
  the foregoing is being served this day on all counsel of record or pro se parties
  identified on the attached Service List in the manner specified, either via
  transmission of Notices of Electronic Filing generated by CM/ECF or in some other
  authorized manner for those counsel or parties who are not authorized to receive
  electronically notices of Electronic Filing.


                                                          /s/ Charlotte Zubizarreta
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Case 1:21-cv-22250-MGC Document 11 Entered on FLSD Docket 03/18/2022 Page 3 of 3

                                                            CASE NUMBER: 1:21-cv-22250-MGC



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